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IN THE uNlTED sTATEs DlsTRlcT coURT
FoR THE NoRTHERN DlsTRlcT oF TE)<As lan
DALLAS DlvlsloN
DEPMY
ARTHUR cARsoN, PLAlNTlFF
vs.

 

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soFlA HERNANDEZ,AND voA/PRAR|E 8 .. 1 7 Cv 1 4 9 3 ._ L

CREEK V|LLAGE APT., DEFENDANTS.

COI\/|PLA|NT FOR DECLARATORY / lNJUNCT|VE REL|EF
W|TH JURY DEIV|AND
PREL|M|NARY STATEMENT:
Comes now the Plaintiff, Arthur Carson, and brings this His Comp|aint, pursuant to
Tit|e V||, 42 U.S.C. 3601 of the Civi| Rights and Fair Housing Act, 42 U.S.C. 1985 ”Conspiracy"
Statue; the Fair Credit Reporting Act, 15 U.S.C. 1681; also invoke Sec. 92.3515, Texas Propert

Code.

PART|ES:
1)). Plaintiff, Arthur Carson, 6200 Co|one| G|enn Rd. #219, Litt|e Rock, AR 72204;
2). Defendant, So’r`la Hernandez, !V|anager-Prarie Creek Village Apartment, 9215 Bruton Rd~
Da|las, TX 75217;

2). Defendants, VOA/Prarie Creek Village, 300 E. |V|idway Street, Eu|ess, TX 76039.

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STATEMENT6 OF CLAllVlS:

1).On or about l\/|ay 28,2016, Plaintiff, hereinafter ”Carson”, then a 62 Year old African-American~

Senior, applied for Housing at the Prarie Creek Village Apartments. On June 1, 2016, through

Phone follow-up by Carson, Sofia Hernandez, informed Carson that because of His past Crimi'ia|

m

History, the application was denied. No further information Were given to Carson , several days later

An adverse letter was sent to Carson informing Him ”Criminal History, and Credit History” were the

Reasons for denial.

2). Sofia Hernandez at no time allowed Carson to present mitigating factors to the findings, such as

Carson's previous five year Rental History at His prior address, timely payments, No disturban
And the length of time since Carson’s Felony Convictions. The Defendants used a forty year 0
Conviction for Burglary, and twenty eight Year old Attempted Murder Conviction, along with

inaccurate Homicide Conviction from someone with a similar Name as Carson,

ces,

d

3). The Defenclants ban on Carson for His old convictions amounts to a ban against African-Armericans

And has an adverse Discriminatory effect. ln that Carson, an African American is part of a Disproportio-

nate number of those Convicted and imprisoned and Convicted in Texas.

|n 2014, African-American comprised approximately 36 percent of the total population, yet
incarcerated at a rate nearly three times their proportion of the Genera| Population.
The Defendants Practice and Policy that deny Housing to those Released from Prison is critica
Any successful reentry to Society, and such Policy is Equal|y Disparate and Discriminates agai

African-Americans.

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This in conjunction with the Racial aspect of those that are Convicted in Texas, in 2005,
The Racial Conviction rate in Texas per 100,00 of the Population came to: ”Whites 667;
Blacks 3167; Hispanics 830". See (Uneven Justice, by Marc l\/lauer, and Ryan S. King, 2007,
The Sentencing Project). African Americans have Historically garnered the most Felony
Convictions in the United States, whether earned or not. The Defendants Policy Represents
A Discriminatory Policy.
4). The adverse letter from VOA Prarie Creek Vi||age used Credit History as its second pretext
The Defendants gave Carson No advance written notice specifying Credit as a Se|ection Criter a,
ln fact the only criteria was stated to be ”Four Years at previous Residence ; 62 or Older; Disabled",
ln Which Carson met this criteria, The arbitrary use of credit History was contrary to Texas LaW,
That mandates written advance selection criteria, 92.3515, Texas Property Code.
WHEREFORE, PREl\/llSES CONS|DERED, Plaintiff Pray that Dec|aratory and lnjunctive Relief against
Defendants Ban on Persons for Prior Felony Convictions; Damages of $1,000,000 from Each Defendant;
Cost of Court, and all else Relief This Court deem Equitable and Just.
l, Arthur Carson, states the foregoing statement of Claims are true and correct, pursuant to 28 U.S.C.-

1746.
fpl/iba
Arthur Carson

6200 Co;onel G|enn Rd 219
Little Rock, AR 72204

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APPL!C,ATBON STATUS LETTER

 

 

 

 

I`o: Arthur Carson From: Prairie Q;e§k Viilagc
1515 N Town East Blvd Suite 138»334 9215 Bruton Rd
Me§quite Texas 7515() Dgllas_, Tean 25217

 

Dear Appiicant:

Il We are in the process of updating our waiting list. if you are still interested in an apartment contact our office within
days. if we have not received your response by , then your application will be removed from the waiting
and placed in an inactive fiie.

ll While reviewing your rental application7 it has come to our attention that you do not have acceptable credit history, rer

history, and/or other documentation Before we can continue to process your application, you must submit the foilowii

 

 

Il Y r application has been declined because of the following reason(s):
W/ Criminai background check
Credit History

Sex offender registration check

Landlord Reierence

Househoid Composition

Household income exceeds guidelines for household size

Household income does not meet the minimum requirement for unit size
Fuii-time Student Status

Other Credit History Un§atisfgctorv

Criminal History Unsatisfacto[_y
The information below must be provided in accordance with the Fair Credit Reporiing Act of 1986.
Credit Agency Name Eguiiax incorporated `

Address 6333 TX-161 #100 irvinci. Texas 75038

Phone Numt)er 972 756-8100

(The consumer reporting agency listed above did not make the decision to decline your rental application and will not be able to provide the specific rees
why your application was declined Vou have the right to obtain a free copy of your credit report from the credit agency listed above i_f requested_Withiri 60 c
from the date of this letter, You also have the right to dispute with the consumer reporting agency the accuracy or completion of any information included in
credit report.)

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f you feel that the above reasons for denial are incorrect please respond in writing, or contact us within fourteen (14) days for
normal hearing Persons with disabilities have the right to request reasonable accommodations to participate iri the inforr
iearing process. You may also submit a written request for an appeal hearing to the Volunteers of America Texas, Hous
department 300 East Nlidway, Eu|ess, Texas 76039. You may also exercise other options available if you believe that you 1
)eing discriminated against on the basis of race, coior, creed, reiigion, sex, national origin, age, handicap or familial status.

f, at some future date, your situation has changed so that you would be eligib|e, please contact us again.

 

f you believe there are mitigating circumstances that should be considered, or if you are a person with a_handicap or disability, 2
ielieve a reasonable accommodation would allow us to continue processing your application, please advise us so we may sched
i meeting to discuss your request

`hank you for your interest in our apartment community

iomrnunity Adrninistrator Date

   

ig?tlj§iilii$ii‘ire PR_AIRIE C R l“‘,EI§. Vl l .l AGE APT (pro]ect name) does not discriminate on the basis of disability status ila the admission or access to,

t treatment or employment in, its federally assisted programs activities

 

lie person named below has been designated to coordinate compliance with the nondiscrimination requirements contained in the Deparimznt of Housing and Urbim
>evelopment’s regulations implementing Sectioii 504 (24 CFR, part 8 dated june 2, 1988).

§§ l l 1 MQ 1131 § (Namc)

 

 

       

 

 

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